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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 GENOVA BURNS LLC                                  BROWN RUDNICK LLP
 Daniel M. Stolz, Esq.                             David J. Molton, Esq.
 Donald W. Clarke, Esq.                            Robert J. Stark, Esq.
 Matthew I.W. Baker, Esq.                          Jeffrey L. Jonas, Esq.
 dstolz@genovaburns.com                            Michael Winograd, Esq.
 dclarke@genovaburns.com                           dmolton@brownrudnick.com
 mbaker@genovaburns.com                            rstark@brownrudnick.com
 110 Allen Road, Suite 304                         jjonas@brownrudnick.com
 Basking Ridge, NJ 07920                           mwinograd@brownrudnick.com
 Tel: (973) 467-2700                               Seven Times Square
 Fax: (973) 467-8126                               New York, NY 10036
 Proposed Local Counsel to Official Committee      Tel: (212) 209-4800
 of Talc Claimants I                               Fax: (212) 209-4801

                                                   and

                                                   Sunni P. Beville, Esq.
                                                   sbeville@brownrudnick.com
                                                   One Financial Center
                                                   Boston, MA 02111
                                                   Tel: (617) 856-8200
                                                   Fax: (617) 856-8201
                                                   Proposed Co-Counsel for the
                                                   Official Committee of Talc Claimants I

 PARKINS LEE & RUBIO LLP                       OTTERBOURG PC
 Leonard M. Parkins, Esq.                      Melanie L. Cyganowski, Esq.
 Charles M. Rubio, Esq.                        Adam C. Silverstein, Esq.
 lparkins@parkinslee.com                       Jennifer S. Feeney, Esq.
 crubio@parkinslee.com                         mcyganowski@otterbourg.com
 Pennzoil Place                                asilverstein@otterbourg.com
 700 Milan St., Suite 1300                     jfeeney@otterbourg.com
 Houston, TX 77002                             230 Park Avenue
 Tel: (713) 715-1666                           New York, NY 10169
 Special Counsel for the Official Committee of Tel: (212) 905-3628
 Talc Claimants                                Fax: (212) 682-6104
 Proposed Special Counsel for the              Proposed Co-Counsel for the
 Official Committee of Talc Claimants I        Official Committee of Talc Claimants I
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 In re:
                                                        Chapter 11
 LTL MANAGEMENT, LLC,
                                                        Case No.: 21-30589(MBK)
                                Debtor.
                                                        Honorable Michael B. Kaplan



            MONTHLY FEE STATEMENT OF GENOVA BURNS, LLC
      LOCAL COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS I,
                    FOR THE PERIOD JANUARY 2022

          GENOVA BURNS, LLC (“Genova”) submits this Monthly Fee Statement for Services

Rendered and Expenses Incurred as Local Counsel to the Official Committee of Talc Claimants I

(the “Statement”) for the period commencing January 1, 2022 and ending January 31, 2022 (the

“Statement Period”), pursuant to the Modified Order Establishing Procedures for the Allowance

of Interim Compensation and Reimbursement of Expenses of Professionals Retained by Order of

this Court entered on December 17, 2021 (the “Modified Interim Compensation Order”).

          The billing invoices for the Statement Period are annexed hereto as Exhibit “A”. These

invoices detail the services performed. A detailed breakdown of all out-of-pocket disbursements

necessarily incurred by Genova is annexed as Exhibit “B”. The fees sought in the within Statement

Period is as follows:

          Fees           Less 20%         Fee Payment Requested       Expense Reimbursement
                                                                              (100%)

 $156,850.00         ($31,370.00)         $125,480.00                 $3,060.85



          WHEREFORE, Genova respectfully requests interim payment of fees for this Statement

Period in the sum $125,480.00, together with expenses of $3,060.85, for a total requested interim

payment of $128,540.85, in accordance with the terms of the Interim Compensation Orders.
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                                      GENOVA BURNS, LLC
                                      Local Counsel to Official Committee
                                      of Talc Claimants I


                                      By: /s/ Daniel M. Stolz          .
                                         DANIEL M. STOLZ
Dated: February 10, 2022
